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                                         October 26, 2021
VIA ECF

Honorable Lewis A. Kaplan
United States District Court
500 Pearl Street
New York, New York 10007-1312

       Re:     Giuffre v. Prince Andrew, Case No. 21-cv-06702-LAK
               Our File No. 7147-2

Dear Judge Kaplan:

         We represent defendant Prince Andrew in the above-referenced action. In connection
with our forthcoming motion to dismiss, pursuant to your Honor’s Individual Practices and the
Local Rules of this Court, we respectfully request leave to file, under seal, the 2009 Settlement
and General Release Agreement between Virginia Giuffre and Jeffrey Epstein (the “Release
Agreement”), which the undersigned contends releases Prince Andrew and others from any and
all liability, including from any purported liability arising from the claims Ms. Giuffre asserted
against Prince Andrew here. Likewise, we request leave to file, in redacted form, portions of our
briefing in support of the motion to dismiss that may refer to and/or quote from the Release
Agreement.

        Counsel for the parties in this action met and conferred telephonically on October 11,
2021 and again by email earlier today, regarding this request and the treatment of the Release
Agreement. While neither Prince Andrew nor Ms. Giuffre contend that the Release Agreement
must remain sealed in this case, the document is subject to a protective order entered by the Hon.
Loretta A. Preska, on December 21, 2020, in Giuffre v. Dershowitz, Case No. 19-cv-3377 (LAP)
[ECF No. 227]. Out of an abundance of caution, we are making this request to ensure that the
parties do not run afoul of Judge Preska’s order.

       However, to the extent the Court permits the public filing of the Release Agreement (and
any references thereto), the parties in this action would not object. Mr. Epstein’s estate
previously has consented to Ms. Giuffre providing a copy of the Release Agreement to Prince
Andrew. See attached order, dated Oct. 6, 2021.
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       Finally, Prince Andrew makes this request without prejudice to his right to later challenge
the propriety of the confidential designation of the Release Agreement in the Dershowitz action.

        We appreciate your Honor’s consideration of this request.

                                             Respectfully submitted,



                                             ANDREW B. BRETTLER

Encl.

cc: All counsel of record
